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                 United States Court of Appeals
                                For the First Circuit

 No. 21-1249

               JOSEPH MANTHA, on behalf of himself and others similarly situated,

                                      Plaintiff - Appellee,

                                               v.

                                 QUOTEWIZARD.COM, LLC,

                                     Defendant - Appellant.


                                          MANDATE

                                     Entered: June 9, 2021

        In accordance with the judgment of June 9, 2021, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                             By the Court:

                                             Maria R. Hamilton, Clerk


 cc:
 Edward A. Broderick
 Christine Kingston
 Matthew P. McCue
 Anthony Paronich
 Kevin Patrick Polansky
 Alex M. Washkowitz
